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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ELIJAH PIERRE                                : CIVIL ACTION
                                              :
                       v.                     : NO. 20-5881
                                              :
 WOODS SERVICES, INC.                         :

                                           ORDER
        AND NOW, this 11th day of January 2021, upon considering Defendant’s Motion for

partial dismissal (ECF Doc. No. 4), Plaintiff’s untimely Response (ECF Doc. No. 7), following

oral argument where Plaintiff confirmed withdrawing his claim for interference under the Family

and Medical Leave Act and he did not plead causation for his common law retaliation claim, and

for reasons in the accompanying Memorandum, is it ORDERED Defendant’s Motion to partially

dismiss (ECF Doc. No. 4) is GRANTED in part and DENIED in part:

        1.       We GRANT Defendant’s Motion to dismiss Plaintiff’s interference claim under

Family and Medical Leave Act upon consent;

        2.       We GRANT Defendant’s Motion to dismiss the common law retaliation claim

without prejudice to Plaintiff amending consistent with Fed. R. Civ. P. 11 under our January 8,

2021 Order (ECF Doc. No. 9); and,

        3.       We DENY Defendant’s Motion to dismiss Plaintiff’s retaliation claim under the

Family and Medical Leave Act and Defendant shall file an Answer no later than January 25,

2021.




                                                   KEARNEY, J.
